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   KEITH M. KANESHIRO 2027
   Prosecuting Attorney
   Donn Fudo 4769
   Deputy Prosecuting Attorney
   City and County of Honolulu
   1060 Richards Street
   Honolulu, Hawai‘i 96813
   Telephone: (808) 768-6535
   Facsimile: (808) 768-6436
   Email: dfudo@honolulu.gov

   Attorneys for Respondents

                     IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF HAWAI‘I

   CHRISTOPHER DEEDY                       ) Civ. No. 18-00094 DKW-RLP
                                           )
               Petitioner,                 )
                                           ) NOTICE OF APPEAL;
               v.                          ) CERTIFICATE OF SERVICE
                                           )
   RUSSELL SUZUKI, et al.,                 )
                                           )
              Respondents.                 )
                                           )

                                  NOTICE OF APPEAL

         Notice is hereby given that Russell Suzuki, et al., Respondents in the above

   named case, by and through their attorneys, Keith M. Kaneshiro, Prosecuting

   Attorney and Donn Fudo, Deputy Prosecuting Attorney, City and County of

   Honolulu, State of Hawai‘i, hereby appeal to the United States Court of Appeals for

   the Ninth Circuit from the ORDER (1) DENYING MOTION TO STRIKE
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   PETITION; AND (2) GRANTING DEEDY’S PETITION FOR WRIT OF HABEAS

   CORPUS UNDER 28 U.S.C. § 2241 entered in this action of the 10th day of August,

   2018, and the JUDGMENT IN A CIVIL CASE entered in this action on the 10th day

   of August, 2018.

         Dated at Honolulu, Hawai‘i: August 29, 2018.

                                       Respectfully submitted,

                                       RUSSELL SUZUKI et al.,
                                       Respondents

                                       By KEITH M. KANESHIRO
                                          Prosecuting Attorney

                                       BY /s/ Donn Fudo
                                         Deputy Prosecuting Attorney
                                         City and County of Honolulu
                                         Attorneys for Respondents




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                     IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF HAWAI‘I

   CHRISTOPHER DEEDY                        ) Civ. No. 18-00094 DKW-RLP
                                            )
                Petitioner,                 )
                                            ) NOTICE OF APPEAL;
               v.                           ) CERTIFICATE OF SERVICE
                                            )
   RUSSELL SUZUKI, et al.,                  )
                                            )
               Respondents.                 )
                                            )

                                CERTIFICATE OF SERVICE

         I hereby certify that on August 29, 2018, a true and correct copy of the Notice

   of Appeal will be served on the following parties at their last known address:

         THOMAS M. OTAKE @ thomas@otakelaw.com
         Attorney for Petitioner Christopher Deedy


                                                 /s/ Donn Fudo
                                                 Deputy Prosecuting Attorney
                                                 City and County of Honolulu
                                                 Attorneys for Respondents
